       Case 1:10-cr-00090-AWI Document 79 Filed 10/26/11 Page 1 of 2



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 6     United States of America

 7
                  IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                         EASTERN DISTRICT OF CALIFORNIA
 9

10

11   UNITED STATES OF AMERICA,      )         CASE NO.   1:10-cr-00090 AWI
                                    )
12                  Plaintiff,      )         STIPULATION TO CONTINUE
                                    )         SENTENCING HEARING; ORDER
13        v.                        )         THEREON
                                    )
14   DUSTIE DENISE LEVINE ,         )         DATE: February 27, 2012
                                    )         TIME: 9:00 a.m.
15                  Defendant.      )         CTRM: Hon. Anthony W. Ishii
                                    )
16   ______________________________ )

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18          IT IS HEREBY STIPULATED by and between the parties hereto that

19   the hearing on the sentencing in the above-entitled matter, as to

20   defendant DUSTIE DENISE LEVINE only, previously set for October 31,

21   2011, be continued be continued until February 27, 2012, at 9:00

22   a.m.

23          The reason for this continuance is to allow counsel for the

24   defendant and the government time for further preparation.         Ms.

25   Kyle’s plea agreement contains a cooperation agreement which needs

26   to be completed before she can be sentenced.        A jury trial on the

27   remaining co-defendant, Stephanie Yost, previously set for October

28   18, 2011, has been continued until January 24, 2012.         It is both

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       Case 1:10-cr-00090-AWI Document 79 Filed 10/26/11 Page 2 of 2



 1   parties estimate, at this time, that a hearing on February 27,

 2   2012, would allow the necessary time to comply with the plea

 3   agreement and be prepared for the sentencing hearing.

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 5                                     BENJAMIN B. WAGNER
                                       United States Attorney
 6

 7   DATED: October 25, 2011     By:      /s/Mark J. McKeon
                                       MARK J. McKEON
 8                                     Assistant U.S. Attorney

 9   DATED: October 25, 2011              /s/ Joseph Altshule
                                       JOSEPH ALTSHULE
10                                     Attorney for Defendant

11

12                                     ORDER

13   IT IS SO ORDERED.

14
     Dated:      October 25, 2011
15   0m8i78                     CHIEF UNITED STATES DISTRICT JUDGE

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